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                                   STATEMENT OF FACTS

        Your affiant, Amihr Bess, is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to the Cleveland Division. I have been a Special Agent with the FBI since June
2022. Prior to that I was an FBI police officer for two years. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of

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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                               Mackrell arriving at the U.S. Capitol

       During the days and weeks after January 6, 2021, a host of photos were publicly shared via
open-source sites, social media, and the body worn camera (“BWC”) footage from the Washington
D.C. Metropolitan Police Department (“MPD”). Among the images of individuals who went to
the U.S. Capitol was an individual, depicted in Image 1 with a yellow square, dressed in an
earthtone camouflage jacket, an earthtone camouflage baseball cap style hat, green gloves, and
black pants. The individual was also wearing a green backpack, he walked with a dark colored
cane, and he used an American flag gaitor to cover his mouth and nose. As described below, this
person has since been identified as Michael Mackrell (“MACKRELL”) of Wellington, Ohio.




 Image 1 - Source: YouTube | Southcoast Reality TV (UCFtStM5x27APovTtb25G0Tw) Washington
                DC Jan 6, 2021 Live stream of Trump Rally and Capitol Riot as I saw it
                      https://www.youtube.com/watch?v=x5b7n16gEfc&t= 772




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           Image 2 - Source: YouTube | The march to Capitol Hill pt7.mp4
              https://www.youtube.com/watch?v=CPPZP9rddhc&t=
                                        508




 Image 3 - Source: Rumble | Gfive vck41x-trump-washington-dc-protest-jan-6th-2021-7.mp4
   https://rumble.com/vck41x-trump-washington-dc-protest-jan-6th-2021-7.html




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                                Assault on Officer #1 at the U.S. Capitol 1
                Open source and closed circuit video footage from the U.S Capitol (“CCTV”)
        shows MACKRELL wrapping his arm around Officer #1’s neck and throwing the officer
        to the ground at 2:28 p.m. at the upper west plaza of the U.S. Capitol.




                       Image 4 - Source: YouTube | Patriots At the Capital 1-6-2021
                         https://www.youtube.com/watch?v=VmJRqUYjlY4&t=46




                                       Zoomed in version of Image 4

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  During his time on the Capitol grounds, Mackrell engaged in a total of five assaults – two on known MPD
officers, who are named. The other three officers are referred to herein as Officer #1 (USCP), Officer #3 (USCP),
and Officer #5 (MPD). Agents continue to work on identifying these officers.


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                         Assault on Officer D. H. at the U.S Capitol

       After the assault on Officer #1, open source CCTV footage show that at approximately at
2:29 p.m., MACKRELL was located near the Southwest Plaza stage about to push Officer #2, a
MPD officer who has been identified as Officer D.H.




       Image 5 - Source: YouTube | [White hot riot] JANUARY 6 WASHINGTON, D.C. RIOT, FULL
       https://www.youtube.com/watch?v=AQAY5hUNhWs&t=1560


        Your affiant has also reviewed BWC footage from MPD officers in connection with this
investigation. Specifically, BWC footage from Officer D.H. (Officer #2) shows that at
approximately at 2:29 p.m., MACKRELL pushed Officer D.H. near the Southwest Plaza stage as
depicted in Image 6.




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           Image 6 – Source: MPD BWC Footage
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                        Assault On Officer #3 at the U.S. Capitol

       In addition, BWC and CCTV footage show that immediately following the assault on
Officer D.H., MACKRELL tackled Officer #3 near the Southwest Plaza of the U.S. Capitol.




      Image 7




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                              Assault on Sergeant P.R at the U.S. Capitol

        After the assault on Officer #3, open source and CCTV footage revealed that at
approximately 2:31 p.m., MACKRELL rushed and tackled a fourth officer, MPD Sergeant P. R.
at the West Plaza of the U.S. Capitol, as shown in Images 8 and 9.




            Image 8




            Image 9

Images 7, 8, and 9 - Source: YouTube | The New York Times (nytimes) How Trump Supporters Took the
U.S. Capitol Visual Investigations.mp4 https://www.youtube.com/watch?v=jWJVMoe7OY0&t=

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                              Assault on Officer #5 at the U.S. Capitol

    In addition, BWC footage in Image 10 shows that at approximately at 2:34 p.m.,
MACKRELL tackled Officer #5 near the Southwest Plaza of the U.S. Capitol.




       Image 10 – Source: MPD BWC footage

                                Identification of MACKRELL

        Based on review of the open-source video described in the following section, the FBI
created a profile for MACKRELL in its "Be On the Lookout" ("BOLO") Assault on a Federal
Officer ("AFO") list for the ongoing U.S. Capitol Riot investigations. MACKRELL was assigned
BOLO AFO #454. MACKRELL and his son, Clifford Mackrell (“CLIFF”), were together at the
Capitol on January 6, 2021, and on March 21, 2021, CLIFF was arrested at MACKRELL’S home.
On June 30, 2021, agents interviewed one of CLIFF’s friends (“Witness 1”), who was not shown
a photo of either MACKRELL or CLIFF. Witness 1 stated that he had been friends with CLIFF
for several years and that he and CLIFF exchanged messages on Facebook wherein CLIFF
indicated that he went to Washington, D.C. on January 6, 2021. Witness 1 believed that CLIFF
went to Washington, D.C. with his father, MACKRELL, but Witness 1 was not sure how the two
traveled to D.C. or if anyone else went with them. On March 17, 2021 CLIFF was arrested by the
FBI Cleveland Joint Terrorism Task Force (JTTF) at MACKRELL’S residence. MACKRELL was
present during the arrest, at which time, agents were introduced to MACKRELL. These agents
also and had conversations with MACKRELL regarding his son’s arrest. These agents were
present during the arrest and have since identified MACKRELL as the same person depicted in



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some of the images herein which were taken of MACKRELL while he was present on the U.S.
Capitol ground on January 6, 2021.




       Image 11




       Image 12

       Images 11 and 12- Source: YouTube | Patriots STORM U.S. Capitol (4K60fps)
       https://www.youtube.com/watch?v=iNFcdpZdkh0&t=2307

        Based on the foregoing, your affiant submits that there is probable cause to believe that
MICHAEL MACKRELL violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with a person designated in 18 U.S.C. §
1114, which includes certain federal officers or employees or those assisting them, where such
acts involve physical contact with the victim of that assault, while the officer or employee is
engaged in or on account of the performance of official duties.

       Your affiant further submits that there is probable cause to believe that MICHAEL
MACKRELL violated 18 U.S.C. § 1752(a)(1), (2), and (4) which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)

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knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant further submits there is probable cause to believe that MICHAEL
MACKRELL violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

      Finally, your affiant submits there is also probable cause to believe that MICHAEL
MACKRELL violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and
knowingly engage in an act of physical violence in the Grounds or any of the Capitol buildings.



                                                      _________________________________
                                                      Special Agent Amihr Bess
                                                      Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 6th day of March 2023 .
                                                      G. Michael Digitally  signed by G.
                                                                    Michael Harvey

                                                      Harvey        Date: 2023.03.06 11:31:44
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                                                      Hon. G. Michael Harvey
                                                      U.S. MAGISTRATE JUDGE




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